          Case 6:17-cv-06359-FPG Document 28 Filed 02/20/18 Page 1 of 3




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                                                                       February 20, 2018

VIA ECF
Hon. Frank P. Geraci, Jr.
Chief United States District Judge
2330 United States Courthouse
100 State Street
Rochester, New York 14614

       Re:     Scott v. City Of Rochester, et al.,
               17-CV-6359 (FPG)

Dear Honorable Judge Geraci:

        Please recall that I represent plaintiff Septimus Scott in the above reference matter. I
write in response to defendants’ February 16, 2018 letter regarding Judge Larimer’s February 14,
2018 Decision and Order on defendant’s motion for summary judgment in Ivery v. Baldauf, et
al., 14-cv-6041L (WDNY Feb. 14, 2016), which dismissed the Monell claim in that matter, but
permitted the excessive force and false arrest claims to proceed to trial.

        Initially, plaintiff objects to defendants’ letter because it does not simply direct the Court
to new case law, but instead adds arguments in support of their underlying motion to dismiss,
and thus amounts to a supplemental affirmation and/or sur-reply. Ordinarily, if new case law
comes down after a motion has been fully briefed, a party will send a short cover letter enclosing
the case and informing the court the party believes the new case is relevant to the Court’s
analysis, but will not make additional arguments in said cover letter. Because defendants’ letter
includes argument as to why they believe the summary judgment decision in Ivery changes the
Court’s analysis on the motion to dismiss in this case, it amounts to a sur-reply, and they were
required to request permission to file said letter under Western District of New York Local Rule
7(a)(6). Plaintiff respectfully submits that, pursuant to Local Rule 7(a)(6), Your Honor should
disregard defendants’ improper letter in its entirety for failure to seek leave of court; however, if
Your Honor is inclined to consider the new arguments in defendants’ letter, plaintiff respectfully
requests permission to file the instant letter in response to defendants’ new arguments.

         Defendants have made a pre-answer motion to dismiss in this case, while the decision in
Ivery concerned defendants’ post-discovery motion for summary judgment. Defendants claim the
decision granting summary judgment on the Monell claim in Ivery supports their motion to
dismiss the Monell claims in plaintiff’s Amended Complaint in this case. Defendants argument
fails for several reasons.
            Case 6:17-cv-06359-FPG Document 28 Filed 02/20/18 Page 2 of 3



         First, defendants claim that plaintiff will get no more discovery on his Monell claims in
this case than what the plaintiff in Ivery received on his Monell claims. (Defendants’ Feb. 16,
2018 letter, note 2). However, Ivery’s opposition to the City’s motion for summary judgment
demonstrates that he did not obtain any Monell discovery in that case. See Doc. No. 31, Ivery v.
Baldauf, 14-cv-06041-DGL-JWF, Answering Affidavit. In his Answering Affidavit, which
included plaintiff’s counterstatement of facts, Ivery dedicated only one paragraph to his Monell
claim, which simply alleged—without any factual support—that officers sued in five other
excessive force lawsuits were not investigated or disciplined by the City or RPD. Id. at ¶ 50.1
The plaintiff in Ivery did not discuss any deposition testimony or documentary evidence obtained
in discovery in support of his Monell claim, but he did discuss the evidence obtained in support
of his other claims at length. Id. Thus, it is disingenuous for defendants to claim that the Monell
discovery obtained by the plaintiff in Ivery demonstrates that Monell discovery in this case
should be futile, because the plaintiff in Ivery did not obtain any Monell discovery—and plaintiff
in this case intends to obtain Monell discovery.2

       Second, defendants’ arguments fail because the legal standard applicable to defendants’
motion to dismiss in this case is completely different than the legal standard Judge Larimer
applied to the Rule 56 summary judgment motion in the Ivery. As Judge Larimer noted in the
Ivery decision, on a motion to dismiss, where the complaint states a facially valid claim, plaintiff

1
    That one paragraph states,

                 The City of Rochester and its Police Department have failed to
                 investigate, suspend, terminate and/or reprimand police officers in
                 excessive force cases which are not presented through the internal
                 complaint process but rather, presented through litigation against
                 Defendant City of Rochester and its police officers in the Western
                 District of New York. This occurred in the cases of Robinn Turner
                 v. City of Rochester, 11-CV-6200L, Alesha Jones et. al. v. City of
                 Rochester et al., 12-CV-6082L, Theodore E. Loria v. City of
                 Rochester et al., 12-CV-6229, Zachary Adams v. City of Rochester,
                 et. al., 12-CV-06237 and Cardell Libbett v. City of Rochester, et. al.,
                 12-CV-6697. It is respectfully submitted that the City of Rochester
                 and the Rochester Police Department's failure to investigate,
                 suspend, terminate and/or reprimand police officers in such
                 excessive force cases, including Plaintiffs, condones such behavior,
                 promotes a policy, custom and practice of deliberate indifference
                 which allows its police officers to escape liability and accountability
                 for unlawful excessive force and/or misconduct and allows it to
                 continue.

Answering Affirmation ¶ 50.
2
 Defendants’ argument is particularly disingenuous because plaintiff’s Amended Complaint
pleaded many more facts in support of his Monell claims than the plaintiff in Ivery presented in
his opposition to defendants’ motion for summary judgment. Doc. No. 16, Amended Complaint
¶¶ 189–265.
          Case 6:17-cv-06359-FPG Document 28 Filed 02/20/18 Page 3 of 3



can overcome the motion “simply by resting on the allegations of his complaint; in contrast, to
defeat a motion for summary judgment, the plaintiff ‘must come forward with concrete evidence
from which a reasonable juror could return a verdict in his favor.’” (See Ivery SJ Decision,
Exhibit “A” to defendants letter, at 16-17 [quoting Houston v. Zen Zen, 388 F.Supp.2d 172, 175
(W.D.N.Y. 2005][other internal quotation omitted]).

        Notably, however, the Court denied defendants’ summary judgment motion on Ivery’s
excessive force claim. The discovery on Ivery’s excessive force claim against Baldauf, which he
cited in his opposition to defendants’ summary judgment motion, corroborates the facts pleaded
in the Amended Complaint in this case in support of plaintiff’s Monell claims. (Compare Doc.
No. 16, Amended Complaint ¶¶ 215–223, to Doc. No. 31, Exhibit B, Ivery v. Baldauf, 14-cv-
06041-DGL-JWF, Excerpts from Baldauf’s Deposition [hereinafter “Baldauf Dep”]). In support
of his Monell claims, which are based on a failure to discipline theory of deliberate indifference,
plaintiff’s Amended Complaint pleaded details of Baldauf’s use of force against Ivery, that
Baldauf’s use of force against Ivery was captured on video, and that the City and RPD failed to
discipline Baldauf for his use of force against Ivery, which encouraged him to use excessive
force against subsequent arrestees, including Delmar Lipford. ¶¶ 215–223. Similarly, as noted in
Ivery’s Answering Affirmation, Bauldauf testified at his deposition that during the interaction
with Mr. Ivery, Ivery did not throw any punches or kicks (Baldauf Dep. at 72:12-16; 79:9-11),
but Baldauf punched him in the face three times or maybe more (Baldauf Dep. at 75 18-23), and
that the punches were intended to be “substantial forces, otherwise they wouldn’t work.”
(Baldauf Dep.at 11-24). The Professional Standards Section, which is the internal RPD section
that investigates force incidents, never spoke with Baldauf about the incident, (Baldauf Dep. at
93:7-10), and to Baldauf’s knowledge, never investigated the incident involving Mr. Ivery.
(Baldauf Dep. at 98:14-17). Thus, the discovery exchanged in Ivery corroborates and supports
the facts pleaded in support of plaintiff’s Monell claims in the Amended Complaint.

       Plaintiff Mr. Scott’s municipal liability claims are detailed, specific, and pleaded with
substantial factual support, unlike the boilerplate Monell allegations in Ivery’s Answering
Affidavit. Plaintiff is entitled to the opportunity to seek further evidence through discovery to
prove these allegations, and to have a jury rule upon issues of credibility that can only be
determined by the ultimate fact finder. The motion to dismiss should be denied in full.

       Thank you for your time and attention in this matter. If you require any further
information or materials, please do not hesitate to contact me.

                                                              Respectfully Submitted,

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                                                              Elliot Dolby Shields
cc: Patrick Beath, Esq. (Via ECF)
